                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA

IN RE: SHARRON JACKSON                                    CASE NO: 15-BK-30794



                             TRANSMITTAL AND DEPOSIT OF
                                  UNCLAIMED FUNDS

   Now into Court, comes E. Eugene Hastings, Standing Chapter 13 Trustee, who reports the

following:

                                                 1.

   That pursuant to Code Section 347(a) ninety days or more has passed since final distribution

was made under 11 U.S.C. in certain cases, and pursuant to Rule 3011, the name of the persons

whom such unnegotiated distribution checks were issued, the amount of the check and the

debtor(s)/creditor(s) last known address is as follows:

NATIONAL PAYMENT CENTER
PO BOX 105028
US DEPT OF EDUCATION
ATLANTA, GA 30348-5028

                                                 2.

   Your Trustee's check for $20,992.07 payable to the Clerk, U.S. Bankruptcy Court, has been

mailed.

   Respectfully submitted this 30th day of December, 2019.

                                                          /s/ E. Eugene Hastings
                                                          E. EUGENE HASTINGS
                                                          STANDING TRUSTEE CHAPTER 13
                                                          PO BOX 14839
                                                          MONROE, LA 71207
                                                          (318)651-7733




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